 3:22-bk-70129 Doc#: 11 Filed: 02/14/22 Entered: 02/14/22 14:47:52 Page 1 of 2




                               2UNITED STATES BANKRUPTCY COURT
                                 WESTERN DISTRICT OF ARKANSAS
                                      HARRISON DIVISION

    In re:      Billy Scallorn, Debtor
                Chapter 13, No. 3:22-bk-70129


                                  MOTION FOR RELIEF FROM STAY
        COMES NOW Ford Motor Credit Company LLC (“Creditor”), by and through its

undersigned counsel, NIXON, LIGHT & BUZBEE, PLLC and for its Motion for Relief from Stay,

states and alleges as follows:

        1.      This motion constitutes a core proceeding pursuant to 28 U.S.C.

157(b)(2)(G), and this motion is also brought pursuant to 11 U.S.C. §362 and the applicable

Federal Rules of Bankruptcy Procedure.

        2.      Debtor filed a petition for Chapter 13 relief on February 9, 2022. The debtor in

this case is an individual.

        3.      Creditor is secured by a purchase money security interest in the following

personal property:

                                 2021 Ford F250, VIN 1FT7W2BT7MEC80265

        4.      Creditor’s interest in the property is not adequately protected. The debt is

depreciating faster than payments are being received.

        5.      The property may be uninsured. Proof of insurance required by 11 U.S.C.

§1326(a)(4) has not been provided by the debtor.

        6.      The Debtor has no equity in the subject collateral and same is not necessary for

the Debtor’s reorganization.
 3:22-bk-70129 Doc#: 11 Filed: 02/14/22 Entered: 02/14/22 14:47:52 Page 2 of 2




        7.     Creditor hereby consents to the continuation of the automatic stay until a

hearing is held on the merits of this motion and hereby waives its right to a hearing within

thirty (30) days of the date of this motion as provided by Section 362(e)(1) of the Bankruptcy

Code.

        8.     Creditor requests Rule 4001(a)(3) be waived and the stay lift be effective

immediately upon entry of the order granting relief.

        WHEREFORE, Creditor, Ford Motor Credit Company LLC, prays for relief from stay

effective immediately upon entry of the order granting relief and for all proper relief.


                                                     Respectfully submitted,
                                                     NIXON, LIGHT & BUZBEE, PLLC
                                                     Attorneys at Law
                                                     10201 W. Markham, Suite 108
                                                     Little Rock, Arkansas 72205
                                                     501.376.3600 Telephone
                                                     john@nixonandlight.com

                                                     /s/ John B. Buzbee
                                                     John B. Buzbee (Ark. Bar 08045)


                                     CERTIFICATE OF SERVICE
        I, John B. Buzbee, hereby certify that a copy of the foregoing was filed via the Court's
ECF system on the 14th day of February, 2022 and served on the following through the
Bankruptcy Noticing Center and the debtor via First Class U.S. Mail:
             Joyce Bradley Babin, Trustee, P.O. Box 8064, Little Rock, AR 72203-8064
                 Matthew Mentgen, Esq., P.O. Box 164439, Little Rock, AR 72216
                         Billy Scallorn, 239 CR 426, Berryville, AR 72616

                                                     /s/ John B. Buzbee
